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IN THE UNITED STATES DISTRICT COURT U"` `i"' ’;;.
FOR THE WESTERN DISTRICT OF TENNESSE.E

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~"i‘;,-’»Fj.s:;':.);`

WESTERN DIVISION _C

  

 

UNITED STATES OF AMERICA,

Plaintiff, Case No.: 04-20009 D
v.
JOHN FELIX GREER,

Defendant.

 

ORDER DENYING DEFENDANT’S MOTION FOR NEW COUNSEL

 

lt appearing to the Court that Defendant’s motion requesting new counsel, is not Well taken;

therefore it is

ORDERED, ADJUDGED AND DECREED that Defendant’s motion for new counsel is

DENIED.

IT IS SO ORDERED this ga day of § § kg z , 2005.

 

ITED STATES DISTRlCT JUDGE

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 53 in
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Honorable Bernice Donald
US DISTRICT COURT

